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                          UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA

  MARK RAYMOND,                            )
                                           )
                 Plaintiff,                )
                                           )
  v.                                       )
                                           )   Case No.: 20-cv-122-JED-FHM
  AMERICAN MERCURY                         )
  INSURANCE COMPANY, an                    )
  Oklahoma Corporation,                    )
                                           )
                 Defendant.                )




       DEFENDANT’S CORRECTED REPLY IN SUPPORT OF MOTION TO DISMISS




                                               Respectfully submitted,


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  June 3, 2020
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                                             INTRODUCTION

         In its Motion to Dismiss, Defendant asserted that any claims Plaintiff could assert as a result

  of AMIC’s filing of its Petition in Intervention in the underlying tort are barred because they were

  compulsory counterclaims he was required to raise in the underlying tort case. In his response brief

  [Doc.11], Plaintiff does not dispute this contention. Plaintiff has thus conceded this point.

         But, in a creative attempt to avoid dismissal of his Complaint, Plaintiff takes a new

  approach. That is, Plaintiff asserts that AMIC’s actions at the mediation of the underlying tort case

  constitute a completely separate cause of action, which stands alone from any claims he could have

  asserted as a result of AMIC’s filing of its Petition in Intervention. Building on this newly-asserted

  theory, Plaintiff argues that because the mediation took place after AMIC filed its Petition in

  Intervention, any claims he now asserts as a result of AMIC’s actions did not exist when AMIC’s

  Petition in Intervention was filed and, therefore, were not compulsory counterclaims.

         Plaintiff confuses the concepts of a cause of action and a theory of liability. It is clear from

  the briefs filed by Plaintiff in the underlying action that he took the position – at that time – that

  AMIC’s act of filing its Petition in Intervention breached its obligations under the insurance contract

  at issue and violated the duty of good faith and fair dealing. Pursuant to black-letter law, any

  alleged actions of AMIC at the mediation – which occurred only because AMIC had filed its

  Petition in Intervention – arose out of the same transaction or occurrence as AMIC’s filing of its

  Petition in Intervention. As such, Plaintiff’s entire Complaint should be dismissed due to his failure

  to raise these matters in a compulsory counterclaim in the underlying tort action.

         Even if this Court accepts Plaintiff’s characterization of AMIC’s actions at the mediation

  as the basis of an entirely separate from any cause of action than those which purportedly arose from

  AMIC’s filing of its Petition in Intervention, it is clear from the briefs filed by Plaintiff in the

  underlying tort action that he commingled AMIC’s filing of its Petition in Intervention and its

  actions at the mediation as a basis for allegations of AMIC’s supposed breach of contract or bad
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  faith which he expressly argued in the context of that lawsuit. Simply put, Plaintiff was aware of

  this supposed separate cause of action before a final judgment was entered by the trial court in the

  underlying action. As such, Plaintiff could and should have long ago asserted – in the course of the

  underlying action – the claim that AMIC acted wrongfully at the mediation in the underlying tort

  action. Therefore, any such claims are barred by the principles of res judicata, and should be

  dismissed with prejudice.

                                   ARGUMENTS AND AUTHORITIES

         Plaintiff presented no legal authority in response to AMIC’s assertion that his claims are

  barred because they were required to be asserted as compulsory counterclaims in the underlying

  action. As such, he has tacitly admitted that any claims which existed at the time his Answer to

  AMIC’s Petition in Intervention should have been (but wasn’t) filed were required to be pled as

  compulsory counterclaims.

         Instead, the arguments asserted by Plaintiff in his Response are, almost entirely, devoted to

  the merits of his claims. AMIC is not addressing the merits of Plaintiff’s claims, as the merits are

  immaterial to the issue of whether dismissal is warranted. Plaintiff overlooks the irony of his

  arguments; the fact Plaintiff continues to assert the same arguments here as he did in the underlying

  action underscores precisely why Defendant’s motion must be granted.

  I.     ALL OF PLAINTIFF’S CLAIMS WERE REQUIRED TO BE ASSERTED AS
         COMPULSORY COUNTERCLAIMS IN THE UNDERLYING TORT ACTION AND,
         THEREFORE, MUST FAIL.

         A.      Plaintiff Has Conceded Any Claims Arising from AMIC’s Filing of Its
                 Petition in Intervention Are Barred.

         Defendant’s Motion focused, in large part, on the fact that Plaintiff’s Complaint must be

  dismissed because he was required to assert the claims in his Complaint as compulsory

  counterclaims in the underlying tort action. In response to this argument, Plaintiff argued that 12



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  O.S. § 2013(A) only applies when “a claim currently exists at the time the pleading is filed.” (See

  Plaintiff’s Motion at Pages 28-29 of 30. Emphasis in original.) Plaintiff sets forth no fact or legal

  authority demonstrating any claims he had that arose from AMIC’s assertion of its subrogation

  rights, as formally pled in its Petition in Intervention, are not barred. As such, Plaintiff has tacitly

  admitted any claims he has against AMIC arising from AMIC’s action of filing its Petition in

  Intervention should be dismissed.

          B.      Any Claims Plaintiff Alleges Arose from AMIC’s Acts or Omissions at
                  Mediation Arose out of AMIC’s Filing of Its Petition in Intervention and,
                  Therefore, Are Also Barred.

          After acknowledging (through his lack of objection) that any claims Plaintiff has that arose

  from AMIC’s act of filing its Petition in Intervention should be dismissed, Plaintiff states his

  “allegations of bad faith and breach of contract against AMIC arise out of its conduct at and after

  mediation in August 2013 in asserting an interest in the Settlement Funds.” (Id. at Page 25 of 27.

  Emphasis in original.) Plaintiff then asserts “[h]is claims did not exist at the time AMIC intervened

  in September 2012.” (Id.)

          Plaintiff’s attempt to divorce AMIC’s filing of its Petition in Intervention from its actions

  or inactions at mediation is a distinction without a difference. These are not two separate causes

  of action; they are multiple theories of liability arising from the same cause of action. Plaintiff

  seizes on a single sentence in Defendant’s Motion – “[t]he only fact alleged by Plaintiff in support

  of his bad faith claim against AMIC is that it intervened in the underlying tort lawsuit and

  ‘wrongfully asserted’ an ‘invalid and unreasonable subrogation interest[]’1 – in his misguided

  attempt to characterize AMIC’s filing of its Petition in Intervention and its acts at mediation as

  separate causes of action.



          1
         See Plaintiff’s Motion at Page 25 of 27, referring to a single sentence included in
  Defendant’s Motion at Page 17 of 23.

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          AMIC’s filing of its Petition in Intervention was the precipitating action from which all

  claims asserted by Plaintiff in his Complaint flow. But for the fact AMIC filed its Petition in

  Intervention, in which it formally asserted in the context of the underlying tort claim its right of

  subrogation, it would not have been present at the mediation. As such, AMIC’s filing of its Petition

  in Intervention is the “only fact alleged by Plaintiff” which matters for purposes of its request that

  Plaintiff’s Complaint be dismissed.

          As noted in Defendant’s Motion, “A counterclaim is compulsory if: (1) the issues of fact and

  law raised by the principal claim and the counterclaim are largely the same; (2) res judicata would

  bar a subsequent suit on defendant’s claim; (3) the same evidence supports or refutes the principal

  claim and the counterclaim; and, (4) there is a logical relationship between the claim and

  counterclaim.” FDIC v. Hulsey, 22 F.3d 1472, 1487 (10th Cir.1994) (italics emphasis in original)

  (citation omitted). The briefs Plaintiff filed in the underlying tort action – at the trial court level –

  demonstrate he knew at that time that AMIC’s action of filing its Petition in Intervention and its

  alleged actions or inactions at the mediation are all part and parcel of a single compulsory

  counterclaim he was required to assert in the underlying tort action.

          Plaintiff's attempt to characterize AMIC's actions at mediation in the underlying tort action

  (i.e., continuing to pursue its subrogation claim) as something separate and apart from its earlier

  action of filing the Petition in Intervention (i.e., kickstarting its assertion of its subrogation claim

  in the tort action) is belied by his own statements made in filings in tort case (in both the district

  court as well as the appellate courts).

          The following are just a few examples:

          #       In the underlying tort case, AMIC moved to determine the allocation of the
                  settlement funds. In Plaintiff's October 23, 2013, Response to AMIC's
                  motion in that regard ([Doc.7-10, sealed Exhibit 10 to Defendant’s Motion
                  to Dismiss), Plaintiff was not only critical of AMIC's assertion of a
                  subrogation interest, but made it clear that his criticism was present from the


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                 moment AMIC first asserted its subrogation claim, which necessarily would
                 have included the subsequent attendance at mediation where the subrogation
                 claim continued to be asserted. (See [Doc.7-10] at pp. 2, 11-12, 13, and 16.)2

         #       In his January 6, 2016, Reply Brief on appeal in case no. DF-113,884 (See
                 Exhibit 24 to AMIC's Motion to Dismiss, [Doc.7-24]), Plaintiff admits that
                 he believed, at mediation, that AMIC's actions at that time were improper.
                 Plaintiff's brief reads, "AMIC demanded subrogation without substitution
                 after a settlement offer was made by the tortfeasor, in violation of section
                 3636. That is, during mediation Blue Knight offered Raymond X to resolve
                 the claim. That, in addition to the UM benefits already paid ("X + 500k"),
                 represent an amount that Raymond was agreeable to accepting. By
                 demanding to be reimbursed from that offer, AMIC essentially said that
                 Raymond's claim was worth, at most, only X instead of X + 500k. Pursuant
                 to section 3636(F), AMIC could have substituted payment of X to Raymond,
                 which would have given him the benefit of the tortfeasor's offer but allowed
                 AMIC to pursue Blue Knight for the full amount of Raymond's claim (X +
                 500k). AMIC could have asserted its right to have sixty (60) days to decide
                 whether it would waive or substitute and the parties would have left
                 mediation with a tentative settlement agreement. But it did not. Instead,
                 AMIC refused to waive subrogation and refused to substitute payment of
                 Blue Knight's offer of X, leaving Raymond with the choices of either
                 rejecting a settlement offer he wanted (and needed) to accept or agreeing that
                 AMIC's alleged interest would have to be resolved post-settlement and
                 satisfied from the settlement proceeds." (See [Doc.7-24], Pages 10-11 of 23.)

         #       In his October 19, 2016 Petition for Certiorari (case no. 113, 894; Exhibit 26
                 to AMIC's Motion to Dismiss, [Doc.7-26]), Plaintiff again admits that he
                 believed, at mediation, that AMIC's actions at that time were improper.
                 Plaintiff's brief reads, "Mercury was present at mediation and claimed that
                 it was entitled to be reimbursed for the full amount it paid to Raymond (i.e.,
                 $500,000, half of its UM limits). Raymond disputed Mercury's position . .
                 . ." (See [Doc.26] at Page 3 of 32.)




         2
          Because Exhibit 10 to AMIC's Motion to Dismiss was submitted under seal, AMIC will,
  out of an abundance of caution, refrain from quoting from said exhibit verbatim, even though the
  portions to which AMIC calls the court's attention are not the "confidential" portions of the brief.


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  II.     IF PLAINTIFF IS CORRECT THAT HIS NEWLY-ASSERTED CLAIM (THAT
          AMIC’S ACTIONS AT MEDIATION IN THE UNDERLYING TORT CASE GIVE
          RISE TO A SEPARATE CAUSE OF ACTION THAT IS NOT BARRED AS A
          COMPULSORY COUNTERCLAIM), SAID CAUSE OF ACTION IS
          NONETHELESS BARRED BY THE PRINCIPLES OF RES JUDICATA.

          Even if this Court accepts that AMIC’s actions during the mediation constitute a wholly

  separate cause of action from the filing of its Petition in Intervention, any claims Plaintiff could

  assert as a result of the mediation are barred by the principles of res judicata. As stated by the Tenth

  Circuit, interpreting and applying Oklahoma law:

                  Oklahoma follows the familiar doctrines of res judicata (claim
                  preclusion) and collateral estoppel (issue preclusion). Under the
                  former doctrine, “a final judgment on the merits of an action
                  precludes the parties or their privies from relitigating issues that were
                  or could have been raised in that action.”

  Fox v. Maulding, 112 F.3d 453, 456 (10th Cir.1997) (italics emphasis in original, underline emphasis

  added). The principle of res judicata is also known as claim preclusion. McDaneld v. Lynn Hickey

  Dodge, Inc., 979 P.2d 252, 255-256. Also pursuant to Oklahoma law:

          The elements of claim preclusion are: 1) identity of subject matter and the parties or
          their privies in the prior litigation; 2) a court of competent jurisdiction heard the
          prior litigation; and 3) the judgment rendered in the prior litigation must have been
          a judgment on the merits of the case and not upon purely technical grounds.

  Robinson v. Texhoma Limestone, Inc., 100 P.3d 673, FN11 (Okla.2004) (citation omitted).

          On the date of the mediation – August 13, 2013 – Plaintiff knew he believed AMIC’s actions

  or inactions during that event constituted a breach of the insurance contract and bad faith. AMIC

  did not file its motion seeking an allocation of the settlement that was reached at the mediation until

  eight weeks later, on September 30, 2013. Three weeks after that, on October 23, 2013, Plaintiff

  filed his response to AMIC’s request for allocation of the settlement reached at mediation – and it

  is patently clear from that brief Plaintiff believed AMIC’s actions or inactions at the mediation

  breached the insurance contract and its duty of good faith.



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         On May 6, 2014, the trial court in the underlying tort action asked the parties to submit

  supplemental briefing on the issue of the settlement allocation. (See [Doc.7-5] at Pages 11-12 of

  16.) Three days later, on May 9, 2014, Plaintiff his separate Tulsa County action (which he seeks

  to reanimate in this action). The Petition filed by Plaintiff in Tulsa County and the Complaint he

  filed in this Court are, substantively, exactly the same. (Compare [Doc.7-14] to [Doc.2].) In other

  words, at the time Plaintiff filed his Petition against AMIC in Tulsa County, no final judgment had

  been entered in the underlying tort action. Nearly four months after Plaintiff filed his Petition in

  Tulsa County, on August 29, 2014, the trial court in the underlying action entered its order finding

  in AMIC’s favor on its request for allocation of the settlement funds. The underlying tort case was

  not dismissed until eight months after that, on March 26, 2015.

         It is patently clear Plaintiff could have raised his assertion that AMIC breached the insurance

  contract and committed bad faith in the underlying tort action. Fox, supra, at 458-459 (holding that

  the plaintiffs in that matter did not “demonstrate[] that the Oklahoma court would not have heard

  their RICO claims,” and, as such, those claims were barred for failure to assert them in that matter).

  There is also no question (1) Plaintiff and AMIC were privies in the underlying tort action, (2) the

  Harper County court was a court of competent jurisdiction, and (3) the judgment rendered by the

  Oklahoma Supreme Court in the underlying tort litigation was a judgment on the merits of the case.

         As stated by the Oklahoma Supreme Court:

                 The purpose of a compulsory counterclaim, as well as of claim
                 preclusion, is to prevent multiplicity of litigation over related claims.
                 Both doctrines are based largely on a policy of conserving judicial
                 resources by avoiding needless relitigation of closely related issues.
                 Judicial economy and efficiency in the system are promoted when all
                 issues related to the same transaction (or occurrence) can be resolved
                 in the same case.

  McDaneld at 256 (footnote omitted). For all of the reasons set forth in Defendant’s Motion to

  Dismiss, the principle of res judicata bars Plaintiff’s claims that AMIC breached the insurance


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  contract at issue and the duty of good faith and fair dealing as a result of its alleged actions or

  inactions at a mediation which occurred in the course of the underlying litigation more than a year

  before that court entered the ruling which forms the basis of Plaintiff’s Complaint. As such,

  Defendant respectfully submits Plaintiff’s Complaint must be dismissed.

                                              CONCLUSION

         No amount of creative pleading, and certainly no discovery, is going to change the outcome

  here. All of Plaintiff’s complaints about AMIC’s actions in this case arise out of AMIC’s assertion

  of its subrogation interest, and Plaintiff has been vocal about those criticisms since 2013, well prior

  to the ruling on the Petition in Intervention. Defendant is entitled to a dismissal.

                                                         Respectfully submitted,

                                                         s/ Dawn M. Goeres
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on June 3, 2020, I electronically transmitted the attached document to
  the Clerk of Court using the ECF System for filing. Based on the records currently on file, the Clerk
  of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

         Donald E. Smolen, II

                                                         s/ Dawn M. Goeres
                                                         For the Firm




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